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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


UNITED STATES OF AMERICA                                     00258-MO
                                                    3:20-cr-___________________

               v.                                   INFORMATION

CAMERON KNUTSON,                                    41 C.F.R. § 102.74.385

               Defendant.


                       THE UNITED STATES ATTORNEY CHARGES:

                                           COUNT 1
                               (Failing to Obey a Lawful Order)
                                    (41 C.F.R. § 102.74.385)

       On or about July 23, 2020, in the District of Oregon, the defendant CAMERON

KNUTSON did willfully enter in and on federal property, to wit: the grounds of the Mark O.

Hatfield Federal Courthouse and fail to comply with the lawful direction of federal police

officers and other authorized individuals;

       In violation of Title 40 United States Code, Section 1315 and 41 Code of Federal

Regulations, Section 102-74.385, a class C misdemeanor.


Dated: July 23, 2020                                Respectfully submitted,

                                                    BILLY J. WILLIAMS
                                                    United States Attorney

                                                    _/s Pamela Paaso__________________
                                                    PAMELA PAASO, TXSB #24060371
                                                    Assistant United States Attorney

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